
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-02-351-CR





JASON ALAN SAVELL 	 						APPELLANT



V.

THE STATE OF TEXAS	STATE

----------

FROM THE 97
TH
 
DISTRICT COURT OF ARCHER COUNTY

----------

MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

----------

We have considered appellant's “Rule 42.2(a) Withdrawal Motion For Voluntary Dismissal Of Appeal.” &nbsp;The motion complies with rule 42.2(a) of the rules of appellate procedure. 
 Tex. R.
 
App
. P. 42.2(a). &nbsp;No decision of this court having been delivered before we received this motion, we grant the motion and dismiss the appeal. 
 See id.;
 
Tex. R. App. P.
 43.2(f).



PER CURIAM

PANEL D:	DAY, LIVINGSTON, and DAUPHINOT, JJ.

DO NOT PUBLISH

Tex. R. App. P. 
47.2(b)



FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.



DELIVERED: &nbsp;MARCH 27, 2003 




